                       Case 5:21-cr-00155-JWH Document 1 Filed 04/09/21 Page 1 of 34 Page ID #:1
        AO 91LODGED
              (Rev. 11/11) Crimin
                           Criminal Complaint
      CLERK, U.S. DISTRICT COURT




       4/9/2021                                      UNITED STATES DISTRICT COURT
                                                                               for the
    CENTRAL DISTRICT OF CALIFORNIA
                   -.
      BY: ___________________ DEPUTY                               Central District
                                                                 __________         of of
                                                                             District  California
                                                                                          __________
                                                                                                                             APR 9 2021
                                                                                                                                    DTS
                               United States of America                           )
                                          v.                                      )
                              Jairo Reynaga Guizar and
                                                                                  )      Case No.     5:21-mj-00269
                              Nylene Kristine Amesquita                           )
                                                                                  )
                                                                                  )
                                                                                  )
                                         Defendant(s)


   CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

                     I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
        On or about the date(s) of                     June 2020 to August 2020          in the county of           San Bernardino            in the
                Central                District of           California       , the defendant(s) violated:

                        Code Section                                                        Offense Description
        Title18,UnitedStatesCode,                         3RVVHVVLRQRI6WROHQ0DLO
        Sectionsand1343                                 WireFraud




                     This criminal complaint is based on these facts:




                     ✔ Continued on the attached sheet.
                     u

                                                                                                       /s/ pursuant to Fed. R. Crim. P. 4.1
                                                                                                             Complainant’s signature

                                                                                                   Rocio Gonzalez, US Postal Inspector
                                                                                                              Printed name and title

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        Date:                  04/09/2021
                                                                                                                Judge’s signature

        City and state:                              Riverside, California                  Honorable Kenly Kiya Kato, U.S. Magistrate Judge
                                                                                                              Printed name and title

$86$ J.   Nam (213) 590-6188
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                                AFFIDAVIT

     I, Rocio Gonzalez, being duly sworn, declare and state as

follows:
                           I.    INTRODUCTION

     1.     I am a Postal Inspector (“PI”) with the United States

Postal Inspection Service (“USPIS”) and have served in this

capacity for 14 years.     I am presently assigned to the External

Crimes Team in the San Bernardino Domicile of the Los Angeles

Division.   My responsibilities as a Postal Inspector include

investigating unemployment insurance fraud, mail fraud, identity

theft, crimes against the United States Postal Service (“USPS”),

crimes related to the misuse and attack of the mail system, and

assaults and threats against USPS employees.         I am a graduate of

the USPIS Career Development Unit (“CDU”) in Potomac, Maryland

where I completed the Postal Inspector Basic Training.           As part

of the 16-week residential training provided at the USPIS CDU, I

successfully completed mail fraud courses detailing how mail

thieves steal in various ways in order to gain access to items

such as checks, money orders, cash, and gift cards, as well as

individuals’ personal information, and use such information to

commit bank fraud, check fraud, and access device fraud with

credit cards and debit cards.      Due to my expertise in mail fraud

investigations, I have served as a course instructor at the CDU

and assisted in revising and updating the Mail Fraud Basic

Training Course.
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                      II.   PURPOSE OF AFFIDAVIT
     2.    I make this affidavit in support of a criminal

complaint and arrest warrant against JAIRO REYNAGA GUIZAR

(“GUIZAR”) and NYLENE KRISTINE AMESQUITA (“AMESQUITA”) for

violations of Title 18, United States Code, Sections 1708

(Possession of Stolen Mail) and 1 (:LUHFraud).

     3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other agents and witnesses.          This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and arrest warrant

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.



      III. BACKGROUND INFORMATION ON UNEMPLOYMENT INSURANCE

                   BENEFITS AND COVID-19-RELATED FRAUD

     A.    Unemployment Benefits

     4.    Since 1935, the DOL’s UI program has provided

unemployment benefits to eligible workers who become unemployed

through no fault of their own.      This program ensures that at

least a significant portion of the necessities of life -- most

notably food, shelter, and clothing -- are met on a weekly basis

while the worker seeks employment.       UI beneficiaries who meet

the requirements of the applicable state law are eligible for

this temporary financial assistance.       Each state administers a
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separate UI program within the guidelines established by federal

law.   In the state of California, the EDD administers the UI

program for residents and others physically performing work

activities in California.

       5.   Generally speaking, regular UI claimants must be:

(1) unemployed through no fault of their own; (2) able and

available for work; (3) willing to accept suitable work; and

(4) actively seeking work.

       B.   PUA Under the CARES Act

       6.   On March 13, 2020, the President of the United States

declared the COVID-19 pandemic an emergency under the Robert T.

Stafford Disaster Relief and Emergency Assistance Act.           On March

27, 2020, the CARES Act was enacted to provide emergency

assistance and health care response for individuals, families,

and businesses affected by the COVID-19 pandemic.          The CARES Act

included, among others, the establishment of (1) PUA benefits to

provide financial assistance to individuals who are out of work

due to the pandemic, including those who do not usually qualify
for regular state UI benefits such as self-employed, contract,

and “gig workers,” (2) the Pandemic Emergency Unemployment

Compensation (“PEUC”) benefit, a 13-week benefit extension for

people who have used all benefits available in their regular UI

claim, and (3) the Pandemic Additional Compensation (“PAC”)

benefit, an additional $600 federal stimulus payment

automatically added to each week of benefits received between

March 29, 2020 and July 25, 2020.


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     7.    On August 8, 2020, after Federal Pandemic Unemployment

Compensation (“FPUC”) expired, the President signed a

Presidential Memorandum authorizing the Federal Emergency

Management Agency (“FEMA”) to use disaster relief funds pursuant

to Section 408 Other Needs Assistance of the Stafford Act to

provide supplemental payments for lost wages to help ease the

financial burden on individuals who were unemployed as a result

of COVID-19.   The “Lost Wages Assistance Program” (“LWAP”)

served as a temporary measure to provide an additional $300 per

week via a total of $44 billion in FEMA funds.         The period of

assistance for LWAP is August 1, 2020 to December 27, 2020, or

termination of the program, whichever is sooner.

     8.    On December 27, 2020, the President signed into law

the Consolidated Appropriations Act of 2021.         The guidance

provided states with important information about several

provisions of the law, including the extension of programs first

authorized by the CARES Act earlier in the year, as well as the

creation of a new UI benefit for “mixed earners.”
     9.    The law extended the PUA program created by the CARES

Act, which provides UI benefits to gig workers and others not

traditionally eligible for them.        Under the law, the end of the

period of applicability for the PUA program extended to those

weeks of unemployment ending on or before March 14, 2021.           In

states where the week of unemployment ends on a Sunday, the last

payable week of PUA was the week ending March 14, 2021 (March 13

if weeks of unemployment end on Saturday).        For individuals on

PUA who have not exhausted their benefit eligibility of up to 50
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weeks, the program also provided for continuing benefits for

eligible individuals for weeks of unemployment through April 5,

2021.    The law also strengthened documentation requirements to

ensure PUA program integrity.

        10.   Additionally, FPUC, which expired July 31, 2020, was

reauthorized and modified to provide $300 per week to supplement

benefits for weeks of unemployment beginning after December 26,

2020 and ending on March 14, 2021, which was extended to

September 4, 2021 by the COVID-19 Relief Bill.         FPUC was not

payable with respect to any week during the gap in

applicability, that is, weeks of unemployment ending after July

31, 2020, through weeks of unemployment ending on or before

December 26, 2020.

        11.   In addition, the time period for receiving the PEUC

benefit was extended from December 27, 2020 to March 14, 2021,

then through September 4, 2021, and the number of weeks that an

individual could claim PEUC benefits was increased from 13 to 24

weeks.
        12.   Prior to the enactment of the CARES Act, to be

eligible for UI administered by the EDD, a person must have been

employed and worked in California and received at least a

certain amount of wages from an employer in the 18 months

preceding his/her UI benefits claim.       Because of this

requirement, self-employed workers, independent contractors, and

employees with insufficient earnings were not eligible to

receive regular UI benefits.


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     13.   The CARES Act established a new program -- PUA -- to

provide unemployment benefits during the coronavirus pandemic to

people who do not qualify for regular UI benefits including

business owners, self-employed workers, independent contractors,

and those with a limited work history who are out of business or

have significantly reduced their services as a direct result of

the pandemic.   UI benefits provided under the PUA program are

sometimes referred to as PUA benefits.

     14.   Under the PUA program, workers who are not eligible

for regular UI benefits but are unemployed or partially

unemployed for a COVID-19-related reason1 permissible under
federal law may receive unemployment benefits for up to 46

weeks.   Under the PEUC program, workers who are eligible for the

regular UI benefits for up to 26 weeks may receive an additional

13 weeks of benefits for a total of 39 weeks, which was later

increased to a total of 50 weeks.       Under the PAC program, for an

individual receiving a regular UI benefit, a PUA benefit, or a

     1 COVID-19-related reasons for being out of work include:
being diagnosed with COVID-19 or experiencing symptoms of
COVID19 and seeking a medical diagnosis; being unable to work
because a health care provider advised self-quarantining due to
concerns related to COVID-19; having a household member who has
been diagnosed with COVID-19; providing care for a family or
household member who has been diagnosed with COVID-19; having
primary caregiving responsibility for a child or other household
member who is unable to attend school or another facility that
is closed as a direct result of the COVID-19 and the school or
facility care is required for the claimant to work; becoming the
breadwinner or major support for a household because the head of
household died due to COVID-19; the claimant has quit his/her
job due to COVID-19; the place of employment has closed due to
COVID-19; a job that the claimant was scheduled to start is no
longer available due to the COVID-19 public health emergency; or
the place of employment is inaccessible due to the COVID-19
public health emergency.
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PEUC benefit between March 29, 2020 and July 25, 2020, the EDD

paid an additional $600 in CARES Act funds for each week of

benefits.    Between December 26, 2020 and March 14, 2021, the

FPUC program provided an additional $300 per week for

unemployment.    Examples of non-business-owner occupations that

may qualify a person for PUA benefits include realtor, barber,

hairstylist, freelance photographer, construction

handyman/woman, gardener, and ride-share driver.2
      15.   The California EDD began accepting applications for

PUA benefits on April 28, 2020.        Applications may be made online

from any digital device, including smartphones, that connects to

the Internet and is capable of accessing the EDD website’s UI

benefits page.     To make benefits available as quickly as

possible, payments are issued in phases.         If a claimant

qualifies for PUA benefits, the minimum payments are as follows

based on the claim’s start date:

            a.   Phase 1: For claims with start dates from

February 2 to March 28, 2020, $167 per week for each week the

claimant is unemployed due to COVID-19.

            b.   Phase 2: For claims with start dates from March

29 to July 25, 2020, $167 plus $600 per week for each week the

claimant is unemployed due to COVID-19.



      2To be eligible, such person must also not be participating
in the UI Elective Coverage program. Under the provisions of the
California UI Code, employers may elect UI and State Disability
Insurance (SDI) or only Disability Insurance coverage for
themselves. Self-employed individuals, who are not employers,
may only elect SDI coverage for themselves.
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            c.    Phase 3: For claims with start dates from July 26
to December 26, 2020, $167 per week for each week the claimant is

unemployed due to COVID-19.

      16.    PUA applicants may be eligible for more than the

minimum weekly benefit amount of $167 if their annual income for

2019 reported on the PUA application meets a minimum threshold.

      17.    Persons applying for PUA benefits do not need to

submit any supporting documents to the EDD with their

applications.    Claimants enter their total income for the 2019

calendar year on the application.        The stated income will be

used to pay the minimum benefits of $167 per week.           The EDD may

request documentation to provide proof of the stated income.3            If

the income information provided by the PUA claimant meets an

annual earnings threshold of $17,368 or more, the EDD will work

as quickly as possible to verify the claimant’s income using

other resources available to the EDD in order to increase the

PUA weekly benefit amount.

      18.    Like regular UI claims, PUA claims can be filed

online.     When an individual files a PUA claim online, the EDD

automatically maintains certain information regarding the filing

of the claim.    This information includes the date and time the

claim was submitted, the name of the person for whom the claim

was filed, and the IP address of the computer, or Internet

Service Provider (“ISP”) account, that was used to file the

claim.

      3In general, the EDD accepts items such as an annual tax
return, 1099 forms, W-2s, and pay stubs as proof of income.
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        19.   A PUA claimant must answer various questions to

establish eligibility for PUA benefits.        The claimant must

provide name, social security number (“SSN”), and mailing

address.      The claimant must also identify a qualifying

occupational status and COVID-19 related reason for being out of

work.

        20.   After it accepts a UI claim, including a claim

submitted pursuant to the PUA program, the EDD typically

deposits UI funds every two weeks to an EBP debit card

administered by BofA, which the claimant can use to pay for

his/her expenses.     The EBP card is sent via the U.S. Postal

Service to the claimant at the address the claimant provides in

their UI claim.     Claimants can activate their debit card over

the phone or online.

        21.   When receiving regular UI benefits, a claimant must

complete a Continued Claim Form (DE 4581) and certify every two

weeks, under penalty of perjury, that he/she remains unemployed

and eligible to receive UI benefits.       The EDD authorizes and
deposits payment to the EBP debit card after it receives the

Continued Claim Form.     On or about April 23, 2020, California

Secretary of Labor Julie Su directed the EDD to temporarily

suspend the requirement for UI claimants to provide unemployment

certifications (Continued Claim Forms).4        The Continued Claim

Form was waived to prevent any unnecessary delays in dispensing

benefit payments.


       The temporary suspension of the continued claims forms
        4
covered the weeks ending March 14, 2020 through May 9, 2020.
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     22.   At present, weekly PUA benefits typically range from

$40 to $450.    In order to receive the maximum weekly benefit of

$450, a claimant must have earned $11,674.01 or more in the

highest quarter of the claimant’s base employment period.

     23.   The submission of the PUA claims cause mailings to the

addresses provided on the claims, including mailings of EBP

debit cards administered by BofA that are used to access the

fraudulently obtained UI benefits.       The co-schemers and their

associates use the EBP debit cards to withdraw the fraudulently

obtained UI benefits by making cash withdrawals at Automated

Teller Machines (“ATM”) and point of sale purchases at merchants

across the United States.

     C.    UI Benefit Fraud Schemes

     24.   Based on my conversations with other law enforcement

officers, I know that individuals scheming to fraudulently

obtain UI benefits generally follow recognizable patterns,

including, among other indicia:

           a.    Co-schemers commonly buy or outright steal the

personally identifiable information (“PII”) of other people to

file for fraudulent UI benefits in the ID-theft victims’ names

and then collect the UI funds.      Co-schemers often buy PII from

other fraudsters or from the Dark Web5 (using cryptocurrency such

     5 Dark Web is the set of web pages on the Internet that
cannot be indexed by search engines, are not viewable in a
standard web browser, require specific means (such as
specialized software or network configuration) in order to
access, and use encryption to provide anonymity and privacy for
users. Dark Web has become the Internet’s black market in
recent years where visitors can make illegal purchases of PII,
guns, and drugs, and trade child pornography.
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as Bitcoin) and verify that the PII belongs to real persons by

checking the PII at background check websites such as

Beenverified, Spokeo, Intelius, and Whitepages.

            b.   Using addresses the schemers control as the

addresses submitted to EDD for the claims so that EBP debit

cards and other EDD correspondence will be mailed to these

addresses and thus be accessible to the schemers.          Once the EBP

debit cards arrive, co-schemers commonly withdraw UI benefits

via ATMs or make POS purchases at merchants for goods and

services.

            c.   Submitting multiple UI claims from the same IP

address for multiple claimants.       These claims are sometimes

submitted on the same day close in time.

            d.   Failing to provide a phone number or provide a

wrong number on multiple UI claims so it may be difficult to

reach the identity holder.
                  IV.   STATEMENT OF PROBABLE CAUSE
     A.     Summary of Probable Cause

     25.    On September 10, 2020, in San Bernardino County,

within the Central District of California, Jairo GUIZAR and

Nylene AMESQUITA reported together to the San Bernardino County

Probation Department’s (“SBCPD”) office located at 15480 Ramona

Avenue, Victorville, California 92395.6        Probation officers

     6 On November 4, 2019, AMESQUITA was convicted of one count
of bank fraud in violation of 18 U.S.C. § 1344(2), and Aiding
and Abetting in violation of 18 U.S.C. § 2(a), in the Central
District of California. (United States v. Amesquita, et al., ED
CR 19-00134-PA-2, ECF 114, Judgment and Commitment (C.D. Cal.
Nov. 4, 2019).
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conducted a records search for AMESQUITA, learned that she was a

convicted felon with an outstanding federal arrest warrant, and

shortly thereafter arrested her.         Probation officers separately

arrested GUIZAR for violation of his state probation terms,

which prohibited him from associating with a convicted felon.

Probation officers searched GUIZAR’s person and found $500 in

U.S. currency with a BofA receipt for a withdrawal of $1,000

using a BofA card number ending in x5386.

     26.    SBCPD probation officers and Postal Inspectors

searched the Cadillac that GUIZAR drove to the SBCPD office.

Officers found four EDD BofA Visa debit cards in the Cadillac

and a Microsoft Surface Pro 7 Tablet.        One of the EDD BofA debit

cards was in AMESQUITA’s name and the three other BofA cards

were in names of people other than GUIZAR and AMESQUITA.

Probation officers also found $2,440 in U.S. currency in the

Cadillac.

     27.    Later on September 10, 2020, probation officers and

Postal Inspectors searched GUIZAR’s residence and a second
vehicle, a Chrysler 300C, parked at the residence in Hesperia,

California.   In GUIZAR’s and AMESQUITA’s shared bedroom at the

residence, officers found mail from EDD addressed to people

other than GUIZAR and AMESQUITA, handwritten notes with other

persons’ PII, and receipts for transactions using EDD BofA Visa

debit cards, and a HP laptop.      In the Chrysler 300C parked at

the residence, officers and Postal Inspectors found five

additional digital devices, seven additional EDD BofA Visa debit

cards in other persons’ names, bank receipts, and retail store
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receipts.   Officers also found approximately $4,514 in U.S.

currency, a white crystalline substance that appeared to be

methamphetamine, and drug paraphernalia in the Chrysler 300C.

     28.    In sum, Postal Inspectors and probation officers found

ten EDD BofA Visa debit cards in other persons’ names,

approximately $7,454 in U.S. currency, bank and retail store

receipts, suspected stolen mail, and handwritten notes with

other person’s names and PII, during the search of the Cadillac,

GUIZAR and AMESQUITA’s shared room, and the Chrysler 300C parked

at their residence.

     29.    BofA provided USPIS with information for approximately

32 presumptively fraudulent EDD claimant accounts linked by

common mailing addresses, telephone numbers, and the IP

addresses associated with the EDD BofA Visa Debit cards seized

from GUIZAR and AMESQUITA on September 10, 2020.         USPIS obtained

UI claimant information and EDD deposit records for the BofA

accounts associated with each of the EDD BofA Visa debit cards

that were found in the Cadillac and Chrysler 300C.          BofA
identified 21 additional presumptively fraudulent EDD accounts

using PII and EDD letters which were found in GUIZAR’s and

AMESQUITA’s possession and linked by common addresses, telephone

numbers, and IP addresses.      In total, EDD deposited

approximately $629,520 in UI benefits into the 32 presumptively

fraudulent accounts identified by BofA.

     30.    USPIS received from BofA ATM surveillance video

images, which showed GUIZAR using BofA ATMs to withdraw funds

from the victims’ EDD BofA Visa debit cards between August 1,
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2020 through October 25, 2020.      On multiple occasions, GUIZAR

withdrew funds from six different victim EDD BofA debit cards on

a single trip to an ATM.     AMESQUITA and GUIZAR appeared on

surveillance images conducting transactions at adjacent ATMs at

the same time.    Other BofA surveillance images showed GUIZAR in

the driver’s seat of the vehicle conducting the transactions at

a drive-up ATM while AMESQUITA is in the passenger seat.           In yet

other images, AMESQUITA was seen in the driver’s seat and

conducting the transactions at the drive-up BofA ATM, while

GUIZAR was in the passenger seat.

                  V.    STATEMENT OF PROBABLE CAUSE
     31.    Based on my review of the evidence and law enforcement

reports in this investigation, my participation in this

investigation (including search of the belongings of GUIZAR and

AMESQUITA), and conversations with other law enforcements

officers, I am aware of the following:

     A.     GUIZAR and AMESQUITA Arrested at Probation Office

     32.    On September 10, 2020, GUIZAR reported to the SBCPD

located in Victorville, California as required by the terms of

his Post Release Community Supervision (“PRCS”).         GUIZAR had

previously reported to SBCPD that he was homeless, and GUIZAR

now provided probation officers with his new home address on 9th

Avenue in Hesperia, California.       GUIZAR arrived at SBCPD with a

woman.    An SBCPD Officer asked for the woman’s name so that he

could determine if she was a convicted felon.         She identified

herself as Nylene AMESQUITA but declined to provide her date of

birth.    The officer searched law enforcement records for her
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name and identified her as having the date of birth of July 31,

1992.       The officer’s records check revealed that AMESQUITA was

wanted by the U.S. Marshals Service on a federal warrant for

violating the conditions of her federal supervised release.

AMESQUITA confirmed her date of birth and was then arrested.

        33.    Upon AMESQUITA’s arrest, GUIZAR pulled out $500 in

cash from his wallet and gave it to AMESQUITA.         GUIZAR stated

that the money should be added to her jail account.          Officer

Luna detained GUIZAR and searched his person pursuant to his

PRCS terms.      Officer Luna’s report indicated that GUIZAR’s PRCS

search terms required him to “[s]ubmit to a search and seizure

of your person, residence and/or property under your control, at

any time of day or night, without a search warrant by any law-

enforcement officer and with or without cause.”7
        34.    On GUIZAR’s person, probation officers found an

additional $500 in cash and a BofA receipt showing a $1,000

withdrawal using the card ending in x5386 on September 9, 2020.

GUIZAR also carried keys to a black 2018 Cadillac sedan, which

was parked in front of the SBCPD office.        GUIZAR gave his car

keys to officers, and Probation Officer Michelle Stephens

conducted a preliminary search of the Cadillac and found $2,440

in U.S. currency and four EDD BofA Visa debit cards.          One of the

debit cards had AMESQUITA’s name and the three other debit cards



       On February 13, 2020, GUIZAR was convicted of felony
        7
attempted making, possessing, and uttering of fictitious
instrument in violation of California Penal Code Sections 664,
476(f), in the Superior Court of California, County of San
Bernardino.
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had names other than that of GUIZAR and AMESQUITA.          GUIZAR was

arrested for violating the terms of his probation, which

prohibited him from associating with convicted felons.

     B.    Probation and USPIS Search of GUIZAR and AMESQUITA

           Residence

     35.   Probation officers reported GUIZAR’s and AMESQUITA’s

arrest to USPIS.    Postal Inspectors knew GUIZAR from previous

and ongoing investigations.      Similarly, Postal Inspectors knew

AMESQUITA for her prior conviction involving a mail theft and

bank fraud scheme.8    Thus, on the same day, September 10, 2020, A

SBCPD Probation Officer, accompanied by U.S. Postal Inspectors,

conducted a felony probation compliance check at GUIZAR’s

residence located on 9th Avenue in Hesperia, California.

     36.   Upon arrival at GUIZAR’s and AMESQUITA’s residence,

Probation Officer Ramirez spoke to the homeowners, D.W. and

R.W., and their daughter T.W., who also lived at the residence.

The Probation Officer explained to the homeowners and T.W. that

he was conducting a probation compliance check of GUIZAR.           The

homeowners confirmed that GUIZAR also lived at the residence.

T.W. said that she was a friend of GUIZAR’s and that she had

rented a room to both GUIZAR and AMESQUITA.         A records check

determined that T.W. was also on probation and subject to search

terms.




     8  AMESQUITA is serving a term of federal supervised release
following her November 4, 2019 conviction for bank fraud in ED
CR 19-00134-PA-2.
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     37.   Officer Ramirez searched GUIZAR and AMESQUITA’s

bedroom which was located on the north side of the house near

the kitchen.   In a closet in GUIZAR’s and AMESQUITA’s bedroom,

Officer Ramirez found a black backpack, which contained

handwritten notes with names, dates of birth, and SSNs.           A

second black bag in the closet contained mail addressed to

GUIZAR together with mail addressed to people other than GUIZAR,

AMESQUITA, D.W., R.W., or T.W.      The Probation Officer found a

gray Targus laptop bag on a closet shelf.        The laptop bag

contained a silver HP laptop, mail addressed to GUIZAR, and

additional mail bearing the names and addresses of people other

than GUIZAR, AMESQUITA, T.W., D.W., and R.W.

     C.    USPIS Interviews of GUIZAR and AMESQUITA

     38.   Still on September 10, 2020, after the probation

compliance check and search of GUIZAR’s room, probation officers

and Postal Inspectors took GUIZAR and AMESQUITA from the SBCPD

to GUIZAR’s residence.     A Postal Inspector interviewed GUIZAR

outside of the residence.      The Postal Inspector had previously
interviewed GUIZAR on May 15, 2019 in Reno, Nevada in connection

with an unrelated investigation.9        Before being Mirandized,

GUIZAR spontaneously said, “I haven’t been doing nothing.”            The

     9 On May 9, 2019, GUIZAR and AMESQUITA’s brother Adrian
Amesquita were arrested in Reno, in possession of thousands of
pieces of stolen mail, credit cards, checks, and white
crystalline substance. On May 15, 2019, Postal Inspectors
interviewed GUIZAR, who confessed to working with co-
conspirators to steal mail from the back of post offices in
California, Arizona, and Nevada and stealing victims’ identities
to fraudulently use their bank cards to access their accounts.
GUIZAR has not yet been charged in connection with the May 9,
2019 arrest.
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Postal Inspector read GUIZAR his Miranda rights.         GUIZAR said he

understood his rights and agreed to answer questions.          GUIZAR

denied knowledge of the items that probation officers found in

the Cadillac.    GUIZAR denied any involvement in suspected fraud

activities.   The Postal Inspector also interviewed AMESQUITA,

who invoked her right not to speak without an attorney present

after the Postal Inspector advised her of her Miranda rights.

AMESQUITA then stated that she did not know about the warrant

for her arrest on a supervised release violation, and the

interview ended shortly thereafter.

     D.    USPIS Find Receipts and EDD BofA Debit Cards in

           Chrysler

     39.   Also on September 10, 2010, while still at GUIZAR’s

residence, probation officers and Postal Inspectors saw a black

Chrysler 300C parked in the driveway of GUIZAR’s residence.           A

Postal Inspector contacted Nuestra Gente Auto Center with

information he obtained from a temporary identification sticker

on the Chrysler’s front windshield.       The dealership told the
Postal Inspector that the Chrysler had been sold to an

individual, N.R., and provided the Postal Inspector with N.R.’s

telephone number.     The Postal Inspector and Probation Officer

called N.R. who stated that AMESQUITA borrowed his Chrysler but

had not yet returned it.     N.R. had not been unable to locate

AMESQUITA and the Chrysler for several weeks.         N.R. stated that

he wanted the Chrysler returned to him.        N.R. consented to law

enforcement’s search of the Chrysler and gave consent to seize

items from the vehicle.     N.R. requested that the Chrysler be
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towed to the Nuestra Gente car dealership after officers

searched it.

       40.   The Probation Officer, the Postal Inspector, and I

searched the Chrysler and found, among other things, the

following items:

             a.   $4,500 in cash in the center console;

             b.   A fanny pack containing a white crystalline

substance and drug paraphernalia;

             c.   Seven EDD BofA Visa debit cards found in the

center console ending in the following numbers:

                  i.    x4780 bearing victim name R.C.

                  ii.   x4020 bearing victim name P.A.

                  iii. x7016 bearing victim name B.H.

                  iv.   x4822 bearing victim name L.J.

                  v.    x8235 bearing victim name J.L.

                  vi.   x8322 bearing victim name A.S.

                  vii. x5386 bearing victim name S.U.

             d.   Inside the Chrysler, Postal Inspectors found
numerous receipts for retail purchases, letters, casino rewards

cards, and casino receipts with AMESQUITA’s name.          Specifically,

Postal Inspectors found the following receipts and miscellaneous

documents in the Chrysler:

                  i.    One BofA withdrawal receipt for $1,000 dated

September 9, 2020 using a card ending in x7235, which was later

determined to be connected to an EDD BofA account for victim

J.S.

                  ii.   One BofA withdrawal receipt for $1,000 dated
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September 9, 2020, for card ending in x7392, which later

determined to be connected to an EDD BofA account for victim

L.D.

                  iii. One Best Buy receipt dated September 9,

2020, for a $2,011.32 purchase for several items including a

Targus laptop bag, a black matte Microsoft Surface Pro 7, and

additional Microsoft Surface Pro accessories paid for using a

debit card ending in x7392 with the name of victim L.D.

                  iv.   One BofA withdrawal receipt for $1,000

dated August 28, 2020, for a card ending in x9517, later

determined to be connected to an EDD BofA account for victim

A.V.

                  v.    Receipts for purchases at DD’s Discount

Store and at Walmart paid for with a card ending in x9517 issued

to victim A.V.

       E.    Probation and USPIS Search of Cadillac

       41.   Later on September 10, 2020, Probation Officer

Ramirez, Postal Inspector Galvez, and I conducted a more
thorough search of the black 2018 Cadillac while it was parked

in front of the SBCPD office at 15480 Ramona Avenue,

Victorville, California.     GUIZAR had driven the Cadillac to the

SBCPD Offices with AMESQUITA as a passenger.         SBCPD officers had

already conducted a brief probation search of the Cadillac.           The

additional thorough search of the Cadillac was also under the

terms of GUIZAR’s state probation.       The following items were

discovered during the second search of the Cadillac:

             a.   A Chase Bank debit Visa card ending in x1622 in
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GUIZAR’s name was found in the center console cup holder;

           b.    In the glove compartment, a sales contract for

the purchase of the Cadillac for $26,000 cash dated September 4,

2020, listing R.A., AMESQUITA’s brother, as the purchaser.

           c.    Also in the glove compartment were four Morongo

Casino W2 Gambling Winning receipts dated September 10, 2020.

Two of the receipts were under GUIZAR’s name and the other two

were under AMESQUITA’s name.

           d.    Receipts for repairs to a 2010 Mercedes under

GUIZAR’s name, showing a cash deposit of $1,232.95 on September

8, 2020.

           e.    Receipts for the purchase of furniture in the

amount of $5,358.94 paid for with cards ending in x1363 and

x1622 under GUIZAR’s name.

           f.    A black and purple Targus laptop bag was found on

the backseat behind the driver’s side containing a Microsoft

Surface Pro 7 Tablet.     The device lock screen showed the names

“Nylene and Jairo,” the first names of AMESQUITA and GUIZAR.
           g.    Inside the laptop bag, there was a white and

orange Nike Air Jordan pouch containing the following:

                 i.    $2,440 in cash;

                 ii.   AMESQUITA’s California identification card,

various credit cards and an EDD BofA Visa debit card ending in

x8458 in AMESQUITA’s name;

                 iii. An Allstate Auto Insurance document for the

Chrysler 300C with name of N.R.;


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                 iv.   One EDD BofA Visa debit card ending in x7235

in the name of victim J.B.

                 v.    One EDD BofA Visa debit card ending in x7392

in the name of victim L.D.; and

                 vi.   One EDD BofA Visa debit card ending x9517 in

the name of victim A.V.

     42.   The Cadillac was released to the registered owner,

R.A., on September 10, 2020.      Postal Inspectors interviewed R.A.

and read R.A. his Miranda rights.        R.A. said that he understood

his rights and agreed to answer questions.        He denied being

involved in mail and identity theft activity.         He said he

purchased the Cadillac with $13,000 he saved from working as a

dental assistant and was in the process of making payments on

the car.   He said he had let GUIZAR borrow the car about four

days earlier.

     F.    USPIS Discovery of Fraudulent Transactions on EDD BofA

           Debit Cards

     43.   Based on my review of the above-described evidence
collected in connection with this investigation, I conducted a

further investigation on the UI benefits suspected to be

fraudulently obtained and used by GUIZAR and AMESQUITA.           The

following transactions are merely a sampling of suspected

fraudulent transactions discovered to date:

           1.    Cadillac Purchased Using EDD BofA Debit Cards
     44.   On September 10, 2020, officers found on GUIZAR’s

person a BofA receipt dated September 9, 2020, for a $1,000

withdrawal using the card ending in x5386.        Postal Inspectors
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later found in the Chrysler, the EDD BofA Visa debit card ending

in x5386 bearing the name of victim S.U.         Transaction records

show that S.U.’s debit card ending in x5386 was also used on

September 4, 2020 at Victorville Auto Sales for a $13,000

charge.       An EDD BofA Visa debit card ending in x4020 bearing

victim name “P.A.,” was also found in the Chrysler.           According

to transaction records, the card ending in x4020 was used on

September 4, 2020 at Victorville Auto Sales for a charge of

$13,000 for the purchase of the Cadillac.         The dates and amounts

of these two charges correspond to the Victorville Auto Sales

receipt found in the Cadillac, which showed a purchase price of

$26,000 dollars for the Cadillac on September 4, 2020.

        45.    On March 17, 2021, I visited Victorville Auto Sales

with another Postal Inspector and spoke with employee E.M.

regarding the payments made to the dealership using EDD BofA

Visa debit card ending in x5386 for $13,000 and EDD BofA Visa

debit card ending in x4020 for $13,000 on September 4, 2020.             In

an interview with E.M., he told me, among other things, the
following information:

              a.    On September 4, 2020, R.A. arrived at the

dealership with a female with long black hair, which he

introduced as his sister.      E.M. could not recall R.A.’s sister’s

name.    E.M. recalled the transaction because R.A. appeared to

have shopped their website prior to coming in and knew he wanted

the Cadillac.      E.M. thought R.A. “was a picky customer.”




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            b.    E.M. handled the sale of the Cadillac to R.A. for

a total price of $26,000 dollars.         E.M. recalled being told that

the car would not be financed.

            c.    R.A. provided his California Driver’s license and

contact information for the purchase of the car.          E.M. made a

photocopy of R.A.’s license and retained it in a paper file.

            d.    R.A. paid for the Cadillac using debit cards

ending in x5386 and x4020.      R.A. charged $13,000 on each debit

card to pay the total price of $26,000 for the Cadillac.

            e.    E.M. assumed that the debit cards belonged to

R.A. and did not look at the cards himself.         E.M. did not recall

seeing R.A. enter the required pin codes when she used the debit

cards.

            f.    E.M. did not recall seeing the victim name of

S.U. printed at the bottom of the Merchant Copy Debit Card

receipt for the debit card ending in x5386.

            g.    E.M. did not recall seeing the victim name of

P.A. printed at the bottom of the Merchant Copy Debit Card
receipt for the debit card ending in x4020.

            h.    On or about November or December 2020, R.A. came

into the dealership and asked E.M. for assistance in obtaining

copies of the purchase of the car and the registration.           R.A.

told him that the Cadillac had been stolen along with the

document in it and he needed to file a police report.

            2.    Victim P.A. Transactions
      46.   ATM surveillance images obtained in this investigation

show that GUIZAR used victim P.A.’s card ending in x4020 to
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withdraw $1,000 on August 29, 2020, another $1,000 on August 30,

2020, and another $1,000 on September 3,2020 from an ATM.           ATM

surveillance images also show that AMESQUITA used victim P.A.’s

card to withdraw $1,000 on September 2, 2020 at a drive-up ATM

with GUIZAR in the passenger seat of a black Chrysler.          From

August 29, 2020 through September 10, 2020, victim P.A.’s card

was charged for eight transactions totaling approximately

$20,000.   The handwritten notebook found in AMESQUITA’s and

GUIZAR’s bedroom contained e-mail addresses that contained both

victim S.U.’s and victim P.A.’s names.        The same notebook

contained AMESQUITA’s e-mail address and her password.

     47.   During the September 2, 2020 transaction at a drive-up

ATM, AMESQUITA is seen on surveillance images making $1,000

withdrawals from each of the following victims’ accounts:

                 i.    Victim A.S.’s EDD BofA card ending in x8322

to withdraw $1,000;

                 ii.   Victim B.H.’s EDD BofA card ending in x7016

to withdraw $1,000;
                 iii. Victim S.U.’s EDD BofA card ending in x5386

to withdraw $1,000;

                 iv.    Victim R.C.’s EDD BofA card ending in x4780

to withdraw $1,000; and

                 v.    Victim C.T.’s EDD BofA card ending in x7539

to withdraw $1,000.

           3.    Victim C.T. Transactions
     48.   According to BofA records and surveillance images,

GUIZAR used victim C.T.’s EDD BofA card ending in x7539 to
                                    25
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withdraw $1,000 from an ATM in Victorville, California on August

30, 2020.     Victim C.T.’s name and EDD BofA card were used at the

Red Roof Inn for two separate $50 transactions on September 7,

2020.    The receipts for these transactions were found in the

Chrysler.     Red Roof Inn receipts for another room at the same

location under AMESQUITA’s name were also found in the Chrysler.

In addition, as mentioned above, AMESQUITA is seen on

surveillance images dated September 2, 2020 withdrawing $1,000

from C.T.’s EDD BofA card ending in x7539.        Surveillance images

also show AMESQUITA’s brother R.A. using victim C.T.’s EDD BofA

card ending in x7539 to make three withdrawals totaling $900 on

September 13, 2020.     From August 29, through October 24, 2020,

victim C.T.’s card was charged with transactions totaling

approximately $30,900.

              4.   Victim L.D. Transactions
        49.   EDD records show that victim L.D.’s BofA account was

linked to the EDD BofA card ending x7392, which was found in the

Cadillac that GUIZAR drove to SBCPD.       From August 29, 2020

through October 21, 2020, EDD deposited $29,550 in unemployment

benefits into victim L.D.’s BofA account.        In a purple backpack

inside the Chrysler, officers found a Best Buy receipt dated

September 9, 2020 for a $2,011.32 purchase of several items

including a Targus laptop bag, a black matte Microsoft Surface

Pro 7, and additional Microsoft Surface Pro accessories paid for

using a debit card ending in x7392 with victim L.D.’s name.

Best Buy surveillance video and images show that AMESQUITA used

victim L.D.’s card ending in x7392 to purchase the black and
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purple Targus laptop bag later found in the Cadillac containing

the Microsoft Surface Pro 7 Tablet.       The device lock screen

showed the names “Nylene and Jairo.”       L.D.’s EDD BofA account

was charged $9,011.32 for transactions dated September 6, 2020

through October 25, 2020.      Surveillance images show AMESQUITA

making three cash withdrawals totaling $3,000 on October 25 and

October 26, 2020 with victim L.D.’s EDD BofA card ending x3623

newly issued on October 9, 2020 after AMESQUITA’s arrest on

September 10, 2020.     GUIZAR is also seen on surveillance images

standing behind AMESQUITA.

             5.   Victim L.S. Transactions
     50.     Victim L.S.’s name and SSN were written on the back of

a letter found during the search of GUIZAR and AMESQUITA’s

closet.     BofA records show that victim L.S.’s account linked to

the EDD BofA card ending x0410 received approximately $9,300 in

EDD deposits in UI benefits from July 27, 2020 through October

21, 2020.     According to BofA records and surveillance images,

AMESQUITA used victim L.S.’s EDD BofA card ending in x0410 to

withdraw $900 from a drive-up ATM in Victorville, California on

August 27, 2020.     AMESQUITA is seen in surveillance images

driving the Chrysler 300C with GUIZAR in the passenger seat.

             6.   Victim A.S. Transactions
     51.     An EDD letter addressed to victim A.S. containing his

SSN was found during the search of GUIZAR’s and AMESQUITA’s

closet.     BofA records show that victim A.S.’s account linked to

the EDD BofA card ending x8377 received approximately $23,700 in

EDD deposits in UI benefits from August 6, 2020 through August
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31, 2020.   According to BofA records and surveillance images,

GUIZAR used victim A.S.’s EDD BofA card ending in x8377 to

withdraw $1,000 from an ATM in Hesperia, California on September

1, 2020.    AMESQUITA used victim A.S.’s EDD BofA card ending in

x8377 to withdraw $1,000 from a drive-up ATM in Victorville,

California on September 2, 2020.         Surveillance images show

AMESQUITA driving the Chrysler while GUIZAR sat in the passenger

seat during the September 2, 2020 transaction.

     G.     The UI Claims Were Fraudulent

     52.    The UI benefits have become a prime target for fraud.

Based on the evidence recovered during the search of GUIZAR’s

and AMESQUITA’s residence and vehicles on September 10, 2020 and

records provided by EDD and Bank of America, I have identified

approximately 32 fraudulent EDD UI claims that are linked to

GUIZAR and AMESQUITA.     Some of these accounts share common

account information including mailing addresses used to receive

the EDD mailings and telephone numbers listed in the UI claims.

Other accounts are linked to GUIZAR and AMESQUITA through BofA
surveillance images showing GUIZAR and AMESQUITA using the

cards.    And yet other accounts are linked to GUIZAR and

AMESQUITA because the listed addresses are linked to known

associates of AMESQUITA and GUIZAR who appeared on BofA

surveillance images with GUIZAR.

     53.    Of the presumptively fraudulent 32 EDD UI claims I

identified, approximately 19 UI claims were filed for

individuals who were residing outside of the State of California

and were therefore not eligible for UI benefits in through
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California EDD.    At least 19 of the individuals whose PII was

used in UI claims were not eligible to receive UI benefits

because they did not meet EDD’s eligibility requirements.           Those

individuals were not: (1) residing in the State of California;

(2) had not previously worked in the State of California; and/or

(3) available for work in the State of California.          I conducted

phone interviews with the following victims:         L.D. from Sparks,

Nevada on September 22, 2020; J.G. from Spring Valley,

California on October 2, 2020; L.J. from Hammond, Louisiana on

October 13, 2020; P.A. from Tucson, Arizona on October 20, 2020;

A.S. from Las Vegas, Nevada on February 10, 2021; A.T. from

Bakersfield, California on January 11, 2021; and L.S. from

Fontana, California on January 6, 2021.        None of those

individuals stated that they had previously applied for UI

benefits in the State of California.       With the exception of

victim A.S., none of the victims were aware that their identity

had been stolen.    Victim A.S. had been previously notified by

Placer County Sheriff’s Department that his stolen Wells Fargo
credit card had been recovered in a car in which GUIZAR had been

identified as the passenger.      All of the victims desired

prosecution of those responsible for stealing their identities.

     54.   On or about December 15, 2020, I mailed out USPIS

questionnaires to additional victims identified during this

investigation.    I received separate responses from victims O.F.,

E.G. and S.F. from Tucson Arizona; victim J.S. from Cornelius,

North Carolina, and victim E.L. from Chula Vista, California.

None of those individuals stated that they had previously
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applied for UI benefits in the State of California.          Victim E.G.

reported that his Wells Fargo bank card had been stolen on or

about September 2020 and had been used fraudulently by unknown

individuals.    All of the victims desired prosecution of those

responsible for stealing their identities.

     55.   The remaining claims also had indicia of fraud.          Based

on my training and experience, I know that individuals scheming

to fraudulently obtain UI benefits generally follow recognizable

patterns, including the following, among others:

           a.    Using the identities of other people to file for

fraudulent UI benefits in the other persons’ names and then

collecting the UI funds.     In some instances, the named claimants

are victims of identity theft; in other instances, the named

claimants have provided their personal identifying information

to the schemers and have agreed to pay the schemers a portion of

the fraudulent benefits that are obtained; in yet other

instances, the named claimants believe they may be entitled to
benefits but do not know that the schemers are reporting false

information to EDD to fraudulently increase the amount of the

benefits claimed.

           b.    Using addresses the schemers control as the

addresses submitted to EDD for the claims so that EBP debit

cards and other EDD correspondence will be mailed to these

addresses and thus be accessible to the schemers.          According to

EDD and BofA records, approximately 10 different addresses were

used to submit all 32 EDD UI claims.       I identified seven of the

mailing addresses as being the residences of individuals
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associated with GUIZAR, AMESQUITA, or both, from previous mail

theft investigations I have conducted.         Several of these

associates used the addresses to receive UI claim mailings in

their own names, including one UI claim filed by AMESQUITA in

her own name and another filed by AMESQUITA’s sister-in-law.

All ten mailing addresses are located within the County of San

Bernardino.

            c.    Submitting claims close in time.       AMESQUITA filed

an EDD UI claim in her own name on June 5, 2020.          GUIZAR filed

an EDD UI claim in his own name on June 27, 2020.           On July 10,

2020, EDD UI claims for victim O.F. and E.G. where filed using

the same IP used for GUIZAR’s claim.         The remaining 30

fraudulent UI claims were filed between July 10, 2020 and August

26, 2020.

            d.    Providing similar or identical identifying

information across multiple different claim applications.           Here,

the majority of the claims indicated that the last work date for
the claimant was February 3, 2020 or March 22, 2020.

Approximately 29 of the claims asserted that the claimant was

self-employed.    Approximately 11 claims indicated that the

claimant had a bachelor’s degree.         Approximately 5 claims

indicated the claimant had a master’s degree and 9 indicated that

the claimant had an associate’s degree.        Additionally, most of

the applications indicated that the claimants’ income was either

$170,000, $175,000, $180,000, or $185,000.         Some of the UI claims

submitted also showed similarities in the telephone numbers

provided:
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                 i.    Four UI claims used telephone number (323)

XXX-0089, which is the same telephone number listed as a contact

work number for GUIZAR in a Dream Cars receipt law enforcement

found during the search on September 10, 2020, which was for the

repair of a Mercedes identified as being driven by GUIZAR;

                 ii.   Five UI claims used the telephone number

(661) XXX-8196, which is the same telephone number used by

GUIZAR for his own EDD UI claim.         The UI application for victim

J.S. used this same telephone number as the contact number for

their employer, although they indicated they were self-employed;

                 iii. Four UI claims used telephone number (760)

XXX-0975, which was listed as a home telephone number for GUIZAR

in the Dream Cars receipt law enforcement recovered during the

search on September 10, 2020, which was for the repair of a

Mercedes identified as being driven by GUIZAR;

                 iv.   Three UI claims used telephone number (619)

XXX-9856, which is the same cell phone number listed as a
contact number for GUIZAR in a Dream Cars receipt recovered

during the search on September 10, 2020 for the repair of a

Mercedes identified as being driven by GUIZAR;

                 v.    One UI claim used the telephone number (909)

688-3178, which was the same number used for AMESQUITA’s UI

application.
     H.    Analysis of Bank of America Records

On September 30, 2020, and again on November 13, 2020, I

received records from Bank of America based on the EDD BofA

debit cards, the EDD mail, and the handwritten PII recovered
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during the search of GUIZAR’s and AMESQUITA’s residence and two

cars.    BofA provided additional BofA EDD accounts linked to the

records I had initially requested based on the common mailing

addresses associated with the BofA EDD accounts.         I conducted a

review of the Bank of America records and I identified a total

of 32 presumptively fraudulent EDD claimant accounts.          These

accounts had received approximately $629,520 from EDD.

Approximately $534,952.97 of the funds had been debited by

either purchases, ATM withdrawals, and money transfers dated

between July 14, 2020 and October 16, 2020.

                             VI.   CONCLUSION
        56.   For all the reasons described above, there is probable

cause to believe that GUIZAR and AMESQUITA have committed

violations of Title 18, United States Code, Sections 1708

(Possession of Stolen Mail) and  (:LUHFraud).



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 9th day of
April 2021.




HONORABLE KENLY KIYA KATO
UNITED STATES MAGISTRATE JUDGE




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